                                           Case 3:18-cv-06029-SI Document 176 Filed 01/14/19 Page 1 of 1




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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     REALTIME DATA LLC,                                  Case No. 18-cv-06029-SI
                                   8                     Plaintiff,
                                                                                             ORDER STAYING CASE AND
                                   9              v.                                         DENYING DEFENDANT'S MOTION
                                                                                             FOR JUDGMENT ON THE
                                  10     VERITAS TECHNOLOGIES LLC, et al.,                   PLEADINGS WITHOUT PREJUDICE
                                                                                             TO RENEWAL AFTER LIFTING OF
                                  11                     Defendants.                         STAY
                                  12                                                         Re: Dkt. No. 169
Northern District of California
 United States District Court




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                                               At the January 11, 2019, case management conference the Court STAYED this case pending
                                  14
                                       the resolution of the Federal Circuit appeal concerning the ‘728, ‘902 ad ‘530 patents. Accordingly,
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                                       the Court DENIES defendant’s motion for judgment on the pleadings without prejudice to renewal
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                                       after the Court lifts the stay.
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                                               The parties are ordered to file a joint status report every 90 days regarding the status of the
                                  18
                                       Federal Circuit appeal.
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                                               IT IS SO ORDERED.
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                                       Dated: January 14, 2019                       ______________________________________
                                  23                                                   SUSAN ILLSTON
                                                                                       United States District Judge
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